Case 6:22-cv-01129-CEM-DAB Document 18 Filed 09/26/22 Page 1 of 2 PageID 55




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                                       CASE No.: 6:22-cv-01129-CEM-DAB

MICHAEL R. MCNEIL,

  Plaintiff,

vs.
PHANTOM OF DAYTONA, INC., et al.,

     Defendant.
___________________________________/

                          NOTICE OF SETTLEMENT

      Plaintiff MICHAEL R. MCNEIL, by and through his undersigned counsel,

hereby files this Notice of Settlement, to advise the Court that Plaintiff has reached

settlement of the claims in the above-styled action solely as to Defendant,

PHANTOM FIREWORKS REGION, LLC, d/b/a PHANTOM FIREWORKS OF

DAYTONA BEACH. The Parties are in the process of finalizing formal settlement.

Respectfully submitted this 26th day of September 2022.


   By: /s/Joe M. Quick, Esq.
      Joe M. Quick, Esq.
      Florida Bar No.: 0883794
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Case 6:22-cv-01129-CEM-DAB Document 18 Filed 09/26/22 Page 2 of 2 PageID 56




                          CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of September 2022, I electronically filed
the foregoing with the Clerk of Court by using the CM/ECF system. I also certify
that the aforementioned document is being served on all counsel of record,
corporation, or pro se parties via transmission of Notices of Electronic Filing
generated by CM/ECF or in some other authorized manner for those counsel or
parties who are not authorized to receive electronically Notices of Filing.



By: /s/Joe M. Quick, Esq.
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